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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                     CRIMINAL ACTION
                                            )                     No. 08-20160-08-KHV
v.                                          )
                                            )                     CIVIL ACTION
FRANCISCO PEREA,                            )                     No. 11-2218-KHV
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       On December 15, 2009, defendant pled guilty to conspiracy to distribute and possess with

intent to distribute 50 grams or more of methamphetamine. On April 20, 2010, the Court sentenced

defendant to 292 months in prison. This matter is before the Court on defendant’s Motion Under

28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct Sentence By A Person In Federal Custody (Doc.

#349) filed April 14, 2011. For reasons stated below, the Court sets an evidentiary hearing on

defendant’s claims related to counsel’s failure to appeal and otherwise overrules defendant’s motion.

                                             Analysis

       The standard of review of Section 2255 petitions is quite stringent. The Court presumes that

the proceedings which led to defendant’s conviction were correct. See Klein v. United States, 880

F.2d 250, 253 (10th Cir. 1989). To prevail, defendant must show a defect in the proceedings which

resulted in a “complete miscarriage of justice.” Davis v. United States, 417 U.S. 333, 346 (1974).

       Liberally construed, defendant’s Section 2255 motion asserts that his attorney, Jacquelyn

Rokusek, was ineffective because before he pled guilty, she did not inform him that (1) he would

be deported as a result of his conviction, (2) as a deportable alien, he would not be eligible for a

reduction in his sentence upon completion of the Residential Drug Abuse Program (“RDAP”) and
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(3) his sentencing range under the Guidelines would be based on a Criminal History category II.

See Motion Under 28 U.S.C. § 2255 (Doc. #349) at 4. Defendant also asserts that Ms. Rokusek

incorrectly told him that the typical defendant who cooperates receives a 50 per cent reduction from

the advisory guideline range. See Memorandum Of Facts And Law In Support Of Motion To

Vacate, Set Aside, Or Correct Sentence (Doc. #350) at 3. Defendant argues that at sentencing, Ms.

Rokusek was ineffective because she did not assert that (1) defendant lost the third level for

acceptance of responsibility because his first attorney was ineffective, (2) defendant pled guilty

under a mistaken belief that his criminal history category was I, and (3) defendant should receive

a 50 per cent decrease in his guideline range for substantial assistance. See id. at 6. Defendant

asserts that after sentencing, Ms. Rokusek was ineffective because she did not file an appeal as

instructed or consult defendant about a possible appeal.1 See Doc. #349 at 4.

       To establish ineffective assistance of counsel, defendant must show that (1) the performance

of counsel was deficient and (2) the deficient performance was so prejudicial that there is a

“reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Strickland v. Washington, 466 U.S. 668, 687, 694 (1984). To meet the

first element, i.e. counsel’s deficient performance, defendant must establish that counsel “made

errors so serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant by the

Sixth Amendment.” Id. at 687. In other words, defendant must prove that counsel’s performance



       1
               The government seeks to enforce the waiver of collateral attacks in the plea
agreement, but the waiver specifically preserves “subsequent claims with regards to ineffective
assistance of counsel or prosecutorial misconduct.” Plea Agreement ¶ 13, attached to Petition To
Enter Plea Of Guilty And Order Entering Plea (Doc. #239). Accordingly, the Court overrules the
government’s request to enforce the waiver of collateral attacks.


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was “below an objective standard of reasonableness.” United States v. Walling, 982 F.2d 447, 449

(10th Cir. 1992). The Supreme Court recognizes, however, “a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance.” Strickland, 466 U.S. at

689; see United States v. Rantz, 862 F.2d 808, 810 (10th Cir. 1988), cert. denied, 489 U.S. 1089

(1989). As to the second element, the Court must focus on the question “whether counsel’s deficient

performance render[ed] the result of the trial unreliable or the proceeding fundamentally unfair.”

Lockhart v. Fretwell, 506 U.S. 364, 372 (1993).

I.     Failure To Inform Defendant That He Would Be Deported (Claim 1)

       Defendant, who is a citizen of Mexico and an illegal immigrant to the United States, argues

that Ms. Rokusek was ineffective because she did not tell him that as a collateral consequence of his

conviction, he would be deported. Counsel renders deficient performance if she fails to advise a

noncitizen client that a plea of guilty carries a risk of deportation. See Padilla v. Kentucky, 130 S.

Ct. 1473, 1486 (2010). In an affidavit, Ms. Rokusek states that she notified defendant that as a non-

citizen, he was subject to deportation as a result of a conviction. See Affidavit of Jacquelyn E.

Rokusek ¶ 1, attached to Government’s Response (Doc. #373) filed September 15, 2011. In

contrast, defendant states that Ms. Rokusek never informed him that deportation was a collateral

consequence of his guilty plea. The Court need not resolve whether Ms. Rokusek advised defendant

about deportation, however, because defendant cannot establish prejudice.

       To show prejudice in the guilty plea context, defendant must show a reasonable probability

that but for counsel’s errors, he would not have pled guilty and would have insisted on going to trial.

See Hill v. Lockhart, 474 U.S. 52, 59 (1985); United States v. Clingman, 288 F.3d 1183, 1186 (10th

Cir. 2002); Miller v. Champion, 262 F.3d 1066, 1068-69 (10th Cir. 2001). As part of his proof,


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defendant must show that “a decision to reject the plea bargain would have been rational under the

circumstances.” Padilla, 130 S. Ct. at 1485 (citing Roe v. Flores-Ortega, 528 U.S. 470, 480, 486

(2000)). Defendant asserts that he suffered prejudice because had he known that he would be

deported as a result of his conviction, he would not have entered a plea of guilty and would have

insisted on going to trial. See Memorandum (Doc. #350) at 10. Defendant’s mere assertion that he

would have insisted on trial but for counsel’s errors, although necessary, is ultimately insufficient

to entitle him to relief. Miller, 262 F.3d at 1072; United States v. Gordon, 4 F.3d 1567, 1571 (10th

Cir. 1993). Instead, the Court evaluates the factual circumstances surrounding the plea to predict

“whether the outcome of the district court proceedings would have been different if his counsel had

not committed the alleged errors.” Clingman, 288 F.3d at 1186; see Miller, 262 F.3d at 1072 (court

examines factual circumstances surrounding plea to determine whether petitioner would have

proceeded to trial). While defendant need not show that he would have prevailed at trial, his

prospects of succeeding inform the Court’s view whether he in fact would have gone to trial absent

the alleged errors. United States v. Triplett, 263 Fed. Appx. 688, 690 (10th Cir. 2008); see

Clingman, 288 F.3d at 1186. The strength of the government’s case is often the best evidence of

whether defendant in fact would have changed his plea and insisted on going to trial. See Hill, 474

U.S. at 59-60.

       Defendant does not state that he would have likely prevailed at trial and the record does not

reflect any viable defense against the charges. As part of the plea, defendant acknowledged that he

conspired with others to distribute and possess with intent to distribute more than 50 grams of

methamphetamine. See Plea Agreement ¶ 2. He acknowledged that officers obtained monitored

and recorded phone calls of him discussing drug trafficking business with co-conspirators. In


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addition, he recognized that his girlfriend, co-defendant Tanya Jones, had implicated him in the

trafficking of methamphetamine and appeared willing to testify against him. Finally, he understood

that during a search of his residence, officers recovered 20.8 net grams of pure methamphetamine,

a pistol in his office and a fraudulent 194A Department of Homeland Security document. The PSIR

ultimately determined that defendant was accountable for 15 kilograms or more of

methamphetamine. See PSIR (Doc. #288) ¶ 59. In light of this evidence, which is not impacted in

any degree by Ms. Rokusek’s alleged lack of advice about deportation, defendant states that he

would have proceeded to trial if he had known that he would be deported.

       Defendant’s conclusory claim, though supported by his sworn statement, is insufficient to

show that “a decision to reject the plea bargain would have been rational under the circumstances.”

Padilla, 130 S. Ct. at 1485; see Banos v. United States, No. 10-23314, 2011 WL 835789, at *3 (S.D.

Fla. Mar. 4, 2011) (no prejudice from alleged lack of discussion about deportation because defendant

never claimed innocence of crimes charged, or offered potentially meritorious defense); Agyepong

v. United States, No. 07-cr-178-2, 2011 WL 627361, at *4 (M.D.N.C. Feb. 11, 2011) (given

evidence against him and lack of remotely credible innocent explanation, no rational defendant

would have proceeded to trial).

       Defendant does not expressly state that the fact of deportation was material to his decision

to plead guilty and in any event, the record shows otherwise. During a presentence interview,

defendant acknowledged that when he is released, “he plans to return to Mexico City and work as

a mechanic.” PSIR (Doc. #288) ¶ 97. Defendant does not explain how his deportation was material

in light of the fact that he planned to return to Mexico and to never return to the United States. See

Limones v. United States, No. 07-cr-356-5-TWT, 2011 WL 1157371, at *5 (N.D. Ga. Mar. 29,



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2011) (self-serving statement that defendant would have rejected plea agreement had he been

informed that he would be deported to Mexico, where he already planned on returning, completely

unbelievable; decision to proceed to trial would have been entirely irrational).

       Defendant also cannot establish prejudice because he significantly delayed seeking to vacate

his plea until after the Court imposed a sentence of 292 months in prison. In the context of a motion

to withdraw a guilty plea before sentencing, the Court considers whether defendant delayed in filing

the motion.2 Indeed, delays of three months or more tend to suggest manipulation by a defendant.

See Carr, 80 F.3d at 420 (delay of three months); Vidakovich, 911 F.2d at 439 (delay of five

months). The District of Columbia Circuit has noted as follows:

       Even where the plea was properly entered . . ., the standard for judging the movant’s
       reasons for delay remains low where the motion comes only a day or so after the plea
       was entered. . . . A swift change of heart is itself strong indication that the plea was
       entered in haste and confusion; furthermore, withdrawal shortly after the event will
       rarely prejudice the Government’s legitimate interests. By contrast, if the defendant
       has long delayed his withdrawal motion, and has had the full benefit of competent
       counsel at all times, the reasons given to support withdrawal must have more force.

United States v. Barker, 514 F.2d 208, 222 (D.C. Cir.), cert. denied, 421 U.S. 1013 (1975).

       From a review of the record, it is readily apparent that defendant’s request to withdraw his

guilty plea – 17 months after his plea – is motivated by dissatisfaction with the length of his

sentence, not any misunderstanding about the prospect of deportation 292 months later. Defendant


       2
               See United States v. Killingsworth, 117 F.3d 1159, 1162 (10th Cir.), cert denied, 522
U.S. 961 (1997); Gordon, 4 F.3d at 1572. Delay in filing a motion to withdraw a guilty plea weighs
against granting defendant’s motion. See United States v. Carr, 80 F.3d 413, 420 (10th Cir.1996)
(three months); United States v. Vidakovich, 911 F.2d 435, 439-40 (10th Cir. 1990) (five months);
United States v. Gibson, 176 F.3d 489, 1999 WL 298181, at *2 (10th Cir. 1999) (Table) (three
months); United States v. Rower, 80 F. Supp.2d 1212, 1219 (D. Kan. 1999) (eight weeks), aff’d, 18
Fed. Appx. 702 (10th Cir. 2001); see also United States v. Kramer, 168 F.3d 1196, 1202 (10th Cir.
1999) (three-month delay in filing motion to withdraw plea weighed decisively against defendant
where he filed motion one day before sentencing).

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knew well before his plea and certainly before sentencing that he was subject to deportation. On

July 30, 2009, at a detention hearing and in an apparent effort to avoid deportation, defendant falsely

stated that he is a naturalized U.S. citizen. See PSIR (Doc. #288) ¶ 64; Detention Order (Doc. #143)

at 3. The detention order noted that law enforcement officers found defendant with false I.D.s and

that defendant “appears to be an illegal alien . . . subject to deportation.” Detention Order (Doc.

#143) at 3. The order also noted that Immigration and Customs Enforcement (“I.C.E.”) had lodged

a detainer for defendant. Id.; see also PSIR (Doc. #288) at 1 (noting I.C.E. detainer against him).

On December 15, 2009, in the plea petition, defendant recognized that “I have been advised and

understand that if I am not a U.S. citizen, a conviction of a criminal offense may result in deportation

from the United States, exclusion from admission to the United States, and/or denial of

naturalization.” Petition To Enter Plea (Doc. #239) ¶ 14. At the change of plea hearing, the Court

also informed defendant that as a result of his conviction, he would be deported and that in the

future, he might be excluded from admission to the country and denied naturalization privileges.3

       3
               In particular, the Court advised defendant as follows:

       THE COURT: Are you an American citizen?

       THE INTERPRETER: No.

       THE COURT: Of what country are you a citizen?

       THE INTERPRETER: Mexico.

       THE COURT: You understand that a conviction in this case will cause you to be
       deported?

       THE INTERPRETER: Yes.

       THE COURT: And in the future, you may be excluded from admission and denied
       naturalization privileges?
                                                                             (continued...)

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After being so advised, defendant stated without qualification, that he wanted to plead guilty. See

Martinez-Fierro v. United States, 2011 WL 1528468, at *4 (S.D. Tex. Apr. 20, 2011) (no prejudice

because court warned defendant during plea colloquy that after term of imprisonment he would

likely be deported or removed). Finally, some six weeks before sentencing, the PSIR noted that

upon completion of a term of imprisonment, defendant would surrender to a duly authorized

immigration official for deportation according to procedures provided by the Immigration and

Naturalization Act, 8 U.S.C. §§ 1101-1524. PSIR (Doc. #288) ¶ 118. In light of defendant’s

personal knowledge of his immigration status, he did not suffer any prejudice from counsel’s alleged

failure to advise him that he would be deported as a collateral consequence of his conviction.

        Defendant has not shown that absent counsel’s alleged failure to advise him that he would

be deported, he would have gone to trial.4 The Court therefore overrules his first claim for relief.

        3
        (...continued)
        THE INTERPRETER: Yes.

Transcript Of Change Of Plea Hearing (Doc. #373-1) at 12-13.
        4
                  Padilla noted that “[p]reserving the client’s right to remain in the United States may
be more important to the client than any potential jail sentence.” Padilla, 130 S. Ct. at 1483 (quoting
INS v. St. Cyr, 533 U.S. 289, 323 (2001)). Padilla, however, had been a legal permanent resident
of the United States for more than 40 years and served in the U.S. Armed Forces during the Vietnam
War. 130 S. Ct. at 1477. Here, defendant is in the country illegally and at the time of his plea, he
understood that as an illegal immigrant, he would have to report to I.C.E. after a prison term. In
light of the fact that defendant was already subject to deportation, he has not shown how he could
have rationally rejected the plea agreement, proceeded to trial and subjected himself to a maximum
term of life in prison. See United States v. Gutierrez–Martinez, No. 07–91(5)-ADM/FLN, 2010 WL
5266490, at *4 (D. Minn. Dec. 17, 2010) (no prejudice because defendant was illegal alien subject
to deportation both before and after guilty plea); United States v. Perez, No. 02-cr-296, 2010 WL
4643033, at *3 (D. Neb. Nov. 9, 2010) (no prejudice where defendant subject to deportation without
federal conviction at issue); cf. United States v. Orocio, 645 F.3d 630, 2011 WL 2557232, at *11
(3d Cir. June 29, 2011) (reasonable for alien defendant, especially legal permanent resident, to go
to trial, instead of pleading guilty to offense that carried “presumptively mandatory” removal); Song
v. United States, No. Cr-98-0806-DOC, 2011 WL 2533184, at *4 (C.D. Cal. June 27, 2011)
                                                                                           (continued...)

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II.    Advice About Defendant’s Eligibility For Sentence Reduction (Claim 2)

       Defendant argues that Ms. Rokusek was ineffective because she informed him that he would

be eligible for a reduction in his sentence upon completion of RDAP.5 The Court need not evaluate

whether Ms. Rokusek was deficient in this regard because defendant cannot establish prejudice.

Defendant has not shown a reasonable probability that but for counsel’s prediction, the results of the

plea proceeding would have been different, i.e. he would not have pled guilty and would have

insisted on going to trial. See Hill, 474 U.S. at 59; Clingman, 288 F.3d at 1186; Miller, 262 F.3d

at 1068-69.

       As with defendant’s first claim, defendant has not shown that in light of the evidence against

him, “a decision to reject the plea bargain would have been rational under the circumstances.”

Padilla, 130 S. Ct. at 1485. In addition, the record shows that eligibility for RDAP was not material

to his decision to plead guilty. At the plea hearing, the Court fully explained that the statutory

maximum for his offense was life in prison and that counsel’s predictions or assumptions could turn

out to be incorrect and that any error by counsel might have a huge effect on his sentence. See

Transcript Of Change Of Plea Hearing (Doc. #373-1) at 19. The Court also advised defendant that

he would not get out early on parole. See id. at 26-27. At the change of plea hearing, defendant




       4
        (...continued)
(reasonable probability that lawful permanent resident who provided principal means of financial
support to U.S. citizen wife and two U.S. citizen children would have decided against pleading
guilty had he been adequately apprised of immigration consequences).
       5
               Under 18 U.S.C. § 3621(e), inmates who complete RDAP and meet certain other
qualifications may receive a reduction in sentence of up to one year at BOP discretion. The BOP
categorically denies early release eligibility to inmates who are subject to I.C.E. detainers. See 28
C.F.R. § 550.55(b)(1)(I).

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admitted that no one had made any promise or guarantee about his sentence.6 Defendant also

acknowledged that his plea was free and voluntary and that no one had forced or threatened him to

enter it.7 See id. at 29. After being informed about the statutory maximum and the fact that

counsel’s assumptions could be wrong, defendant pled guilty. Absent a believable reason justifying

departure from their apparent truth, the accuracy and truth of an accused’s statements at a Rule 11

proceeding at which his plea is accepted are conclusively established. United States v. Glass, 66

Fed. Appx. 808, 810 (10th Cir. June 3, 2003); United States v. Jones, 124 F.3d 218, 1997 WL

580493, at *1 (10th Cir. Sept. 19, 1997); United States v. Bambulas, 571 F.2d 525, 526 (10th Cir.

1978).

         For these reasons, defendant was not prejudiced by counsel’s alleged prediction that he



         6
                In the plea petition, defendant also acknowledged as follows:

         I declare that no officer or agent of any branch of government (federal, state, or
         local) has promised, suggested, or predicted that I will receive a lighter sentence, or
         probation, or any other form of leniency if I plead “GUILTY,” except as follows:

         My attorney did discuss how the Sentencing Guidelines may apply in my case.

         If anyone else, including my attorney, made such a promise, suggestion, or
         prediction, except as noted in the previous sentence, I know that he had no authority
         to do so.

Petition To Enter Plea (Doc. #239) at 3.
         7
               Defendant argues that his plea was not knowing or voluntary because of counsel’s
erroneous prediction of RDAP eligibility for early release. Like an erroneous sentence estimate by
counsel, however, such a prediction does not render a plea involuntary. See United States v. Bridges,
68 Fed. Appx. 896, 900 (10th Cir. 2003) (plea voluntary; prediction of no more than 60 months,
sentence of 175 months); Wellnitz v. Page, 420 F.2d 935, 936 (10th Cir. 1970) (plea voluntary;
prediction of 25 years, sentence of 100 years); see also Fields v. Gibson, 277 F.3d 1203, 1213-14
(10th Cir. 2002) (plea voluntary when attorney advised that plea would lessen chance of death
penalty and court nevertheless imposed death penalty); Stout v. United States, 508 F.2d 951, 953 (6th
Cir. 1975) (plea not involuntary merely because prediction that guilty plea would result in light
sentence did not come true).

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would be eligible for RDAP.8 The Court therefore overrules defendant’s second claim for relief.

III.   Failure To Accurately Predict Defendant’s Criminal History (Claim 3)

       Defendant argues that Ms. Rokusek was ineffective because she did not tell him that his

guideline range would be based on a Criminal History Category II. As with defendant’s first two

claims, defendant has not shown that in light of the evidence against him, “a decision to reject the

plea bargain would have been rational under the circumstances.” Padilla, 130 S. Ct. at 1485.

Moreover, defendant has not shown that counsel’s prediction of his criminal history category was

a material factor in his decision to plead guilty. At the change of plea hearing, counsel stated that

defendant would ask for an offense level of 40 and a Criminal History Category I with a guideline

range of 292 to 365 months in prison. See Transcript Of Change Of Plea Hearing (Doc. #373-1) at

17. Defendant acknowledged that no one was in a position to tell him exactly what kind of sentence

he was facing under the Guidelines and that his attorney was relying on certain assumptions,

predictions and educated guesses. See id. at 18-19. After being informed of the fact that his

counsel’s prediction could be wrong, see id. at 19, defendant pled guilty. Because defendant has not

shown how he was prejudiced by counsel’s prediction of his criminal history category, the Court




       8
                 In effect, defendant asserts that Ms. Rokusek made an erroneous sentencing
prediction, i.e. one year less than that announced at sentencing. An erroneous sentencing prediction
is not prejudicial, however, where the Court has conducted an adequate Rule 11 colloquy. See
United States v. Dillon, No. 03-cr-577-KJD-RJJ, 2010 WL 3885354, at *2 (D. Nev. Sept. 30, 2010)
(no prejudice from 12-month mistake about RDAP eligibility in light of 84-month prison sentence);
United States v. Kutilek, 260 Fed. Appx. 139, 147 (10th Cir. 2008) (no prejudice from attorney
miscalculation in light of judge’s statements at plea hearing); United States v. Hamilton, 510 F.3d
1209, 1216 (10th Cir. 2007) (same), cert. denied, 552 U.S. 1331 (2008); United States v. Shedrick,
493 F.3d 292, 299-300 (3d Cir. 2007) (same); Gordon, 4 F.3d at 1571 (same); Doganiere v. United
States, 914 F.2d 165, 168 (9th Cir. 1990) (same), cert. denied, 499 U.S. 940 (1991); United States
v. Cruce, No. 97-3167-DES, 1997 WL 557382, at *2 (D. Kan. Aug. 14, 1997) (same; prediction of
36-47 months, sentence of 168 months); United States v. Marsh, 733 F. Supp. 90, 93 (D. Kan. 1990)
(same; prediction of three years, sentence of nine years).

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overrules his third claim for relief.9

IV.       Fifty Per Cent Decrease Based On Substantial Assistance (Claim 4)

          Defendant argues that Ms. Rokusek was ineffective during the plea process because she

incorrectly told him that the typical defendant who cooperates receives a 50 per cent reduction from

the advisory guideline range. Doc. #350 at 3. As with defendant’s first three claims, defendant has

not shown that in light of the evidence against him, “a decision to reject the plea bargain would have

been rational under the circumstances.” Padilla, 130 S. Ct. at 1485. In addition, as explained above,

an erroneous sentencing prediction is not prejudicial where the Court has conducted an adequate

Rule 11 colloquy. See supra note 8. The Court therefore overrules defendant’s fourth claim for

relief.

V.        Failure To Get Third Level Decrease For Acceptance Of Responsibility (Claim 5)

          Defendant argues that Ms. Rokusek was ineffective at sentencing because she did not tell

the Court that defendant’s prior counsel caused him to lose the third level reduction for acceptance

of responsibility. See Doc. #350 at 6. At the change of plea hearing, Ms. Rokusek adequately

explained to the Court that defendant’s prior counsel had neglected his case to such a degree that

he did not have the opportunity to cooperate until shortly before he pled guilty. See Transcript Of

Change Of Plea Hearing (Doc. #373-1) at 24. At sentencing, counsel for both parties addressed

defendant’s lost opportunity to cooperate at an early stage in the case. Under U.S.S.G. § 3E1.1, a

defendant can obtain an additional third level for acceptance of responsibility only “upon motion

of the government.” United States v. Moreno-Trevino, 432 F.3d 1181, 1186 (10th Cir. 2005). A

court can review the government’s refusal to ask for the third level for acceptance of responsibility


          9
                Again, defendant essentially argues that Ms. Rokusek made an erroneous sentencing
prediction, but such an error is not prejudicial where the Court has conducted an adequate Rule 11
colloquy. See supra note 8.

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if it finds the refusal was animated by an unconstitutional motive or not rationally related to a

legitimate government end. Id. Defendant has not shown that counsel had a reasonable basis to

make such an argument in this case. Accordingly, the Court would have overruled any objection

to the government’s failure to ask for a third level decrease for acceptance of responsibility.

Counsel’s conduct in this regard was not deficient or prejudicial. The Court therefore overrules

defendant’s fifth claim for relief.

VI.    Failure To Argue That Defendant Entered Plea Under A Mistaken Belief (Claim 6)

       Defendant argues that at sentencing, Ms. Rokusek was ineffective because she did not assert

that defendant pled guilty under a mistaken belief that his criminal history category was I. For

reasons stated above, defendant’s alleged belief of his criminal history category did not render his

plea involuntary or provide grounds for the Court to reduce his sentence. In particular, defendant

was well aware that counsel’s predictions or assumptions could turn out to be incorrect and that any

error by counsel might have a huge effect on his sentence. See Transcript Of Change Of Plea

Hearing (Doc. #373-1) at 19. Counsel’s failure to raise this issue at sentencing was not deficient or

prejudicial. The Court overrules defendant’s sixth claim for relief.

VII.   Failure To Ask For Fifty Percent Reduction From Guideline Range (Claim 7)

       Defendant argues that at sentencing, Ms. Rokusek was ineffective because she did not seek

a 50 per cent decrease in his Guideline range for substantial assistance. At sentencing, the

government sought a four level decrease in defendant’s offense level for substantial assistance.10


       10
               Here, the plea agreement provides as follows:

       The defendant acknowledges that substantial assistance has not yet been provided
       by the defendant within the meaning of U.S.S.G. § 5K1.1 and Title 18, United States
       Code § 3553(e). The defendant also acknowledges and understands that the
       determination as to whether the defendant has provided substantial assistance and
                                                                                    (continued...)

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Consistent with Guideline Commentary, the Court gives substantial weight to government counsel’s

judgment as to the amount of a departure based on the cooperation of a defendant. See U.S.S.G.

§ 5K1.1, comment. n.3 (“Substantial weight should be given to the government’s evaluation of the

extent of the defendant’s assistance, particularly where the extent and value of the assistance are

difficult to ascertain.”); see also United States v. Kort, 440 Fed. Appx. 678, 686 (10th Cir. 2011)

(reliance on government recommendation contemplated by Guidelines). The Court has substantial

discretion as to the amount of a departure for substantial assistance. See Krejcarek, 453 F.3d at 1300

(once district court exercises its discretion to depart, determination of extent of that departure within

sound discretion of sentencing court and not limited in any way by Guidelines, government

recommendation or any agreement by parties); U.S.S.G. § 5K1.1(a). Defendant has not shown that

counsel’s failure to ask for a further departure for substantial assistance was deficient or prejudicial.

Accordingly, the Court overrules defendant’s seventh claim for relief.

VIII. Failure To File An Appeal As Instructed (Claim 8)

         Defendant claims that counsel was ineffective because she did not file an appeal after

defendant asked her to do so. Where a lawyer disregards specific instructions to file a criminal

appeal, counsel is deemed to have acted in a manner that is both professionally unreasonable and

presumptively prejudicial. See Roe v. Flores-Ortega, 528 U.S. 470, 477, 484-85 (2000); United

States v. Snitz, 342 F.3d 1154, 1155-56 (10th Cir. 2003). If defendant requests an appeal, counsel


        10
          (...continued)
        whether a motion pursuant to U.S.S.G. § 5K1.1 will be filed are left entirely and
        exclusively within the discretion of the United States. If a determination is made by
        the United States the defendant has provided substantial assistance, the United States
        shall request that the Court consider reducing the sentence the defendant would
        otherwise receive under the applicable statutes and/or sentencing guidelines pursuant
        to Title 18, U.S.C. § 3553(e), Title 28, U.S.C. § 994(n), and U.S.S.G. § 5K1.1.

Plea Agreement ¶ 7.

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must file a timely notice of appeal.11 If counsel believes after conscientious examination that an

appeal is wholly frivolous, she must file a motion to withdraw and an accompanying brief under

Anders v. California, 386 U.S. 738 (1967). To evaluate defendant’s claim that Ms. Rokusek was

ineffective because she did not file an appeal, an evidentiary hearing is necessary on the issue

whether defendant asked counsel to file an appeal. The Court therefore will hold an evidentiary

hearing on this limited issue on April 10, 2012 at 2:00 p.m. Because defendant previously qualified

for appointed counsel under 18 U.S.C. § 3006A, the Court appoints new counsel to represent

defendant at the evidentiary hearing. See Rule 8(c) of the Rules Governing Section 2255

Proceedings. Counsel for the government is directed to secure Ms. Rokusek’s appearance at the

hearing.

IX.    Failure To Consult Defendant About Appeal (Claim 9)

       Defendant complains that counsel did not consult him about a possible appeal. In Roe v.

Flores-Ortega, 528 U.S. 470 (2000), the Supreme Court rejected a bright-line rule that counsel’s

failure to consult defendant regarding an appeal is per se deficient. Id. at 480. Instead, counsel must

consult defendant about an appeal if counsel has “reason to think either (1) that a rational defendant

would want to appeal (for example, because there are nonfrivolous grounds for appeal), or (2) that

this particular defendant reasonably demonstrated to counsel that he was interested in appealing.”

Id. In light of the need for an evidentiary hearing on defendant’s related claim that counsel was

ineffective because she did not file an appeal, the Court will also hold an evidentiary hearing on

defendant’s claim that counsel did not consult him about a possible appeal.




       11
               In his motion, defendant states that “[a]fter being sentenced and before leaving the
courthouse, [he] instructed Attorney Rokusek to file an appeal to make sure he was not going to be
deported following the completion of his sentence.” Doc. #350 at 10.

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X.      Conclusion

        Except for the eighth and ninth claims, the files and records in this case conclusively show

that defendant is not entitled to relief.       Moreover, defendant does not allege specific and

particularized facts which are not directly refuted by the record or if true, would entitle him to relief.

Accordingly, except for the claims related to counsel’s failure to file an appeal or consult defendant

about a possible appeal, no evidentiary hearing is required on defendant’s claims. See 28 U.S.C.

§ 2255; United States v. Kilpatrick, 124 F.3d 218, 1997 WL 537866, at *3 (10th Cir. Sept. 2, 1997)

(allegations of ineffective assistance must be specific and particularized; conclusory allegations do

not warrant hearing); United States v. Marr, 856 F.2d 1471, 1472 (10th Cir. 1988) (no hearing

required where factual matters raised by Section 2255 petition may be resolved on record); United

States v. Barboa, 777 F.2d 1420, 1422-23 (10th Cir. 1985) (hearing not required unless “petitioner’s

allegations, if proved, would entitle him to relief” and allegations are not contravened by record).

        IT IS THEREFORE ORDERED that an evidentiary hearing on defendant’s Motion

Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct Sentence By A Person In Federal

Custody (Doc. #349) filed April 14, 2011 will be held on April 10, 2012 at 2:00 p.m. The

hearing will be limited to defendant’s claims that counsel was ineffective because (1) she did

not file an appeal after defendant asked her to do so and (2) she did not consult defendant

about a possible appeal. The Court directs the Clerk to appoint counsel to represent

defendant at the evidentiary hearing. Counsel for the government is directed to secure Ms.

Rokusek’s appearance at the hearing.

        Dated this 8th day of March, 2012 at Kansas City, Kansas.

                                                s/ Kathryn H. Vratil
                                                KATHRYN H. VRATIL
                                                United States District Judge


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